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                                                                                        20     46




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 3
 4                   IN THE CIRCUIT COURT OF THE STATE OF OREGON

 5                              FOR THE COUNTY OF JACKSON

 6   In the Matter of:

 7   HEIDI MARIE BROWN,                               Case No. 22DR 17285
 8                        Petitioner,                 DECLARATION
 9           and

10   ARNAUD PARIS,

11                        Respondent.
12

13   1.      My name is Terence RICHOUX. I am a licensed and practicing attorney at law in

14   Paris, France. I represented Mr. Arnaud Paris in a court case before the family judge of

15   the Paris Court. That case was against Ms. Heidi Brown. The claims adjudicated by the

16   French court concerned the care, custody and control of the minor children of the parties,

17   rights of visitation as well as support as appropriate between the parties for their minor

18   children. The court granted full custody of the children to Mr. Arnaud PARIS on April 21,
19   2023.
20           2.    During the first trial, Mss. BROWN was given the opportunity to defend

21   herself on all aspects of the case.
22           3.    She sent a written brief to the court challenging its jurisdiction and
23   requesting that the children's residence be established in Oregon. In support of this

24   request to establish the children's habitual residence, she submitted 50 exhibits.
25           4.    She provided pictures, statements, emails, receipts, witness testimony and
26   other documents to convince the Court that if the Court had jurisdiction, it should then:
     Page 1 - DECLARATION

                                                                              SCHULTE, ANDERSON, DOWNES, ARONSON & BITTNER P.C.
                                                                                   811 SOUTHWEST NAITO PARKWAY, SUITE 500
                                                                                         PORTLAND, OREGON 97204-3379
                                                                                           TELEPHONE (503) 223-4131
                                   EXHIBIT 46 - PAGE 1 OF 19                                  FAX (503) 223-1346
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 1            5.    "ESTABLISH the children's habitual residence at the mother's residence in

 2   the United States; alternatively, to order the continuation of alternating weekly residence

 3   as practiced by the parties since October 2022 in the United States; and to order the

 4   sharing of expenses related to the children." 1

 5            6.    The Court gave its ruling on the basis of all the written arguments and

 6   exhibits provided by both parties as well as all oral arguments submitted by both parties
 7   during the hearing.

 8            7.    I hereby declare that the above statement is true to the best of my

 9   knowledge and belief, and that I understand it is made for use as evidence in court and

10   is subject to penalty for perjury.

11
12            Dated: June 8th, 2023

13

14

15
                                          By: Terence RICHOUX
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     1
26       MS BROWN'S BRIEF dated March 30th 2023 page 13

     Page 2 - DECLARATION

                                                                              SCHULTE, ANDERSON, DOWNES, ARONSON & BITTNER P.C.
                                                                                   81 I SOUTHWEST NAITO PARKWAY, SUITE 500
                                                                                          PORTLAND, OREGON 97204-3379
                                                                                            TELEPHONE (503) 223-4131
                                      EXHIBIT 46 - PAGE 2 OF 19                                FAX (503) 223-1346
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                             A Madame ou Monsieur le Juge aux Affaires Familiales
                                            Pres le Tribunal Judiciaire de PARIS

N° RG : 22/38495
Cabinet 205
Audience du vendredi 31 mars 2023 a 9H30




                            CONCLUSIONS.
                           D'INCOMPETENCE



POUR:                    Madame Heidi, Marie BROWN
                         Nee le 30 mars 1982 a Ashland (Etat de !'Oregon - Etats-Unis
                         d'Amerique)
                         De nationalite americaine
                         Demeurant 665 Leonard Street - Ashland (Etat de !'Oregon) -
                         Etats-Unis d'Amerique
                         Exen;ant la profession de cadre marketing



Ayantpouravocat:         Maitre Clemence BRASSENS
                         Avocat au Barreau de Paris
                         3 rue de Saint Simon 75007 PARIS
                         Tel. +33 (0) 1 85.09.98.83
                         Courriel : clemencebrassens@avocatline.fr
                         Palais G 276


CONTRE:                  Monsieur Arnaud PARIS
                         Ne le 14 avril 1978, a Longjumeau,
                         De nationalite franr;:aise et americaine,
                         Se domiciliant 13 rue Ferdinand Duval a Paris (75004)
                         Mais residant actuellement sur le territoire americain
                         Profession : inconnue

Ayantpouravocat:         Maitre Terence RICHOUX
                         Avocat au Barreau de Paris
                         23 rue Henri Barbusse 75005 PARIS
                         Palais E 780




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PLAISE A MADAME LE JUGE AUX AFFAIRES FAMILIALES


  I.          RAPPEL DES FAITS ET DE LA PROCEDURE :

                 1) Rappel des faits :

       1.1.      Sur la situation familiale:

Madame Heidi BROWN, de nationalite americaine (nee a Ashland), et Monsieur Arnaud
PARIS, de nationalite franc;aise et americaine, se sont rencontres en 2013.

Le couple a vecu aux Etats-Unis, d'abord en Californie (Topanga) avant de demenager a
Ashland, Oregon, en novembre 2014, alors que Madame BROWN etait enceinte de jumelles.

Ainsi, deux enfants sont issues de leur union :

       -      Juliette, Manon PARIS, de nationalite americaine et franc;aise, nee le 15 janvier 2015
              a Ashland, Oregon, USA- actuellement agee de 8 ans,
              Eva, Lilie PARIS, de nationalite(s) americaine et franc;aise, nee le 15 janvier 2015 a
              Ashland, Oregon, USA- actuellement agee de 8 ans.

En mars 2015, la famille s'est installee en Californie a Topanga (Etats-Unis), ou
Madame BROWN et Monsieur PARIS ont vecu avec leurs deux filles pendant plusieurs
annees, ponctuees de vacances en France, jusqu'en ao0t 2019.

En ao0t 2019, la famille avait un projet de construction de maison en Californie. Ce projet
devant prendre necessairement du temps, la famille a saisi cette opportunite pour s'installer
une annee scolaire en France et que les filles effectuent une annee de maternelle. Elles
avaient done 4 ans et 1/2.

Piece n°1 : Mail juin 2019 projet construction maison en Californie et annonce sejour temporaire
                                                                                       en France
   Piece n°2: Mail des parents adresse au centre de loisirs de Topanga confirmant la decision de
                                                     passer l'annee scolaire 2019/2020 en France

C'est ainsi que la famille a demenage a Paris, dans un bien en location meublee, et non
dans l'appartement de Monsieur PARIS contrairement ace qu'il pretend dans ses ecritures,
dans l'optique d'y rester temporairement. (eiece n°41 projet contrat de bail 1er octobre 2019 +
mails avec l'agence de location + piece n°5: conge donne pour le meme appartement en juin
2022)

La famille a d'ailleurs laisse tous ses meubles aux Etats-Unis et a choisi expressement un
appartement meuble.

Chacun des parents a continue de declarer ses revenus aux Etats-Unis (Piece n°16 et 17
Federal tax return 2021 Heidi BRO\VN et Arnaud PARIS) et a commence a percevoir des
prestations d'assurance chomage aux Etats-Unis au debut du Covid. (Piece n°24)

En mars 2020, au regard de la pandemie de Covid-19 et de !'incertitude nee de celle-ci quant
aux deplacements a !'international, la famille n'a eu d'autre choix que de rester en France et
le projet de construction d'une maison aux Etats-Unis a ete impacte.

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Dans l'attente de pouvoir repartir sereinement post-Covid, le couple a cependant continuer
d'avancer dans le projet de construction de maison.

Ainsi, en decembre 2020, alors que la famille se trouvait en France, Madame BROWN a
acquis un terrain vacant a Ashland, en Oregon, en vue d'y faire construire le futur logement
familial.

                                                        Piece n°20 : acte d'acquisition terrain aAshland

A l'ete 2021, la famille est revenue a Ashland pour faire avancer ce projet.


        Piece n°3: Mail de Monsieur PARIS en juillet 2021 au sujet du projet de construction de maison a
        Ashland, obligation de rester en France a cause de la pandemie et souhait de reprendre le projet de
                                                                                    construction aux USA
                                                     Piece n°4: Mail aout 2021 sur projet maison Ashland

Ce projet n'a finalement pas abouti au regard de difficultes organisationnelles et financieres
et Monsieur PARIS a initie de nouvelles recherches de maison a acheter, notamment d'une
residence secondaire sur la cote.

       Piece n°19: Communication avec un agent immobilier pour achat d'un terrain sur la cote Aout 2021


Une fois la situation sanitaire mondiale apaisee, Madame BROWN et Monsieur PARIS ant
finalise leurs projets de retour a Ashland, Oregon, Etats-Unis comme ii sera justifie ci-apres.

Mais ii est prouve que durant toute la duree du sejour en France, les parents avaient pour
objectif de retourner vivre aux Etats-Unis et d'y construire leur maison.



   1.2.      Sur le demenagement licite aux Etats-Unis des enfants, conformement au
             projet parental etabli depuis le printemps 2022 :

Le couple a alors organise - ensemble - le depart de leur famille de France vers les
Etats-Unis, a effet au mois de juillet 2022 afin que leurs enfants puissent y entamer
sereinement l'annee scolaire ulterieure.

Ainsi. des mars 2022, de multiples actions ont ete entreprises par les deux parents
pour preparer leur demenagement et Monsieur PARIS et Madame BROWN ant :

   ~      Resilie le bail de leur appartement parisien ; (Piece n°5)

   ~      Vendu leurs meubles et une partie de leurs biens; (Piece n°6)

   ~      Cherche et trouve une maison de location de quatre chambres a Ashland (dont une
          pour la jeune fille au pair fram;:aise) ; (Piece n°7 et 31)

   ~      lnscrit leurs filles a des camps d'ete a Ashland ; (Piece n°8)

   ~      Recherche, et embauche, une jeune fille franc;aise au pair pour s'occuper des enfants
          a Ashland ; (Piece n°9: premieres recherches par le pere en avril/mai 2022; Piece n°10

                                                    3

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          contrat de recherche de jeunes filles au pair avec une agence mai 2022 + Piece n°11 mails
          avec l'agence en juin 2022 sur la jeune fille choisie)

      ~   Discute avec leurs employeurs respectifs et veille a obtenir des emplois aux Etats-
          Unis;

      ~   Recherche des ecoles a Ashland ;

      ~   lnforme l'ecole fran9aise de leurs filles de leur demenagement aux Etats-Unis ;
          (Pieces n°13, 14, 15 radiation)

      ~   Informer leurs parents et amis, et organise des reunions de depart avec leurs
          proches et ceux de leurs filles. (Piece n°18 temoignage de Monsieur Benamou)


Monsieur PARIS et Madame BROWN ont ainsi organise ensemble l'arrivee de leur
famille a Ashland pour la rentree scolaire 2022.

Parallelement, courant avril 2022, des difficultes relationnelles ont affecte le couple, apres la
decouverte par Madame BROWN de rapports extra-conjugaux entretenus par Monsieur
PARIS avec d'autres jeunes femmes.

Le couple a souhaite se laisser une chance, et - dans le cadre du retour prevu aux Etats-
Unis - des billets aller simple de la France vers les Etats-Unis ont ete achetes, visant une
date (13 juillet 2022) qui fonctionnerait pour la scolarite des enfants et leurs activites.

Les billets ont ete achetes le 21 avril 2022 soit pres de 3 mois avant le depart (Piece n°21) et
Madame BROWN a immediatement envoye la confirmation de reservation a Monsieur
PARIS. (Piece n°22)

Le pere de Monsieur PARIS etait meme missionne pour aider la famille au depart a
l'aeroport puisque Madame BROWN partait seule avec les deux filles et pas moins de 12
valises, avant que Monsieur PARIS ne les rejoigne fin juillet ... (Piece n°23 echange whatsapp
entre Madame BROWN et le pere de Monsieur PARIS)

Les filles etaient egalement inscrites a un camp d'ete aux Etats-Unis devant commencer le
18 juillet 2022 soit 5 jours apres leur arrivee. (Piece n°8)

Cependant et contre toute attente, quelques jours avant le depart, Monsieur PARIS
decidait unilateralement d'empecher ce projet en cachant les passeports des enfants
et de Madame BROWN et en sollicitant une interdiction de sortie du territoire fran~ais.
(Piece adverse n°006)

Monsieur PARIS arguait soudainement de sa condition de sante pour annuler ce retour aux
Etats-Unis. II avait effectivement decouvert quelques semaines plus tot etre atteint d'une
maladie, dite de BIEMER, lui imposant de prendre des vitamines B12 1 et de consulter un
medecin occasionnellement.

II ne s'agissait done certainement pas d'une raison valable pour annuler le retour de la
famille aux Etats-Unis prevu depuis des mois et la raison se trouve manifestement dans la
crainte d'avoir perdu son couple en commettant differents adulteres.


1
    La maladie empechant !'absorption de la vitamine B12 et entrafnant une anemie.

                                                   4

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Malgre les tentatives de raisonnement de sa compagne, Madame BROWN et les enfants
n'ont eu d'autre choix - sans passeport et sans appartement - que de lager dans un hotel
avec leurs valises.

La situation a ete particulierement eprouvante pour Madame BROWN et les filles.

Finalement et dans l'urgence, Madame BROWN et Monsieur PARIS sont parvenus a
s'accorder sur le depart aux Etats-Unis pour l'annee scolaire 2022-2023, tout en
conditionnant cet accord a la mise en place de formalites principalement liees aux soins
medicaux de Monsieur PARIS, et ce, avant le 22 aoat 2022.

Ces accords ant ete formalises par le biais de courriers officiels entre leurs conseils
respectifs.

                    Piece n°25: Lettre officielle du conseil de Mme BRO\"'v'N du 19 juillet 2022
                         Piece n °26 : Lettre officielle du conseil de M. PARIS du 19 juillet 2022


Les conditions fixees par les parties ant ete integralement realisees par Madame BROWN a
savoir:

       Signature d'un bail a Ashland (Piece n°31)
       Reservation d'une baby-sitter a partir du 1er septembre 2022 en complement de la
       jeune fille au pair (Piece n°32)
       Reservation de cours de fram;ais 2 fois par semaine a compter du 1er septembre
       2022 (Piece n°33)
       Signature d'un contrat de co-working pour la mere (Piece n°34)
       Souscription d'une couverture medicale americaine pour Monsieur PARIS (Piece
       n°35)
       Confirmation que la couverture medicale n'excluait pas la maladie de Biermer ou un
       cancer (Piece n°36)
       Prise d'un rendez-vous medical avec la compagnie d'assurance americaine pour
       Monsieur PARIS (Piece n°37)
       Prise d'un rendez-vous avec un gastroenterologue aux US pour Monsieur PARIS
        (Piece n°38)
       Souscription d'une nouvelle couverture medicale, Monsieur PARIS ayant annule la
       precedente (Piece n°39)

C'est dans ces conditions que, conformement a l'accord des parties depuis toujours,
Madame BROWN, Eva et Juliette sont arrivees a Ashland le 29 juillet 2022. et y
resident depuis.

Madame BROWN a tout mis en ceuvre par la suite pour que les conditions de l'accord trouve
par les parties soient remplies; ce a quoi Monsieur PARIS a egalement participe.

                      Piece n°27: Lettre officielle du conseil de Mme BROWN du 18 aout 2022
               Piece n°12 : Monsieur PARIS coordonne le paiement de la fille au pair aAshland

Cependant peu apres leur arrivee aux Etats-Unis de nouvelles lettres officielles on{ ete
echangees dans lesquelles Monsieur PARIS, par l'intermediaire de son Conseil, remettait de
nouveau en cause le retour de la famille aux Etats-Unis sous des motifs parfaitement
inoperants et ce alors meme qu'il se trouvait lui-meme aux Etats-Unis depuis le 19 aoat !



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                            Piece n°28: Lettre officielle du conseil de M. PARIS du 23 aout 2022

Par la voie de son Conseil, Madame BROWN faisait savoir qu'elle n'entendait pas rentrer en
France alors qu'un accord avait ete pris de longue date pour un retour aux Etats-Unis et
alors meme que cela faisait deja un mois qu'elle et les filles etaient installees aux Etats-Unis.

                    Piece n°29: Lettre officielle du conseil de Madame BROWN du 26 aout 2022


Sans plus attendre, Monsieur PARIS se ravisait et indiquait etablir sa residence aux Etats-
Unis. Dans le meme temps, ii demissionnait de son paste a Paris.


                            Piece n°30: Lettre officielle du conseil de M. PARIS du 29 aout 2022
                                                Piece n°45: Lettre de demission du 28 aout 2022

Le 29 aout, apres avoir recupere toutes les affaires de la famille a Los Angeles, ii louait un
grand camion et faisait le travail jusqu'a Ashland pour rejoindre sa famille.

                              Piece n°46: Echange Whatsapp sur l'heure d'arrivee avec le camion

Par la suite, Monsieur PARIS a confirme sa volonte de se maintenir avec la famille aux
Etats-Unis de plusieurs fac;ons, notamment en emmenageant dans la nouvelle maison a
Ashland, en signant le contrat de la jeune fille au pair, ou encore en demissionnant de son
paste frarn;ais.

Juliette et Eva ont ainsi debute leur rentree scolaire aux Etats-Unis conformement au souhait
de leurs deux parents, Monsieur PARIS les ayant accompagnees a l'ecole a plusieurs
reprises, et etant reste dans la maison d'Ashland jusqu'a debut d'octobre.

Par la suite, les parents ont mis en place une organisation permettant a chacun de maintenir
leur place respective dans la vie des enfants aux Etats-Unis.


   1.3.    Sur Jes tentatives de Monsieur PARIS de forcer la famille a quitter Jes Etats-
           Unis pour repondre a ses desideratas personnels :

Le 3 septembre 2022, Monsieur PARIS a accede illegalement a l'ordinateur de Madame
BROWN, et a notamment intercepte des communications confidentielles echangees entre
les conseils fran9ais et americain de Madame BROWN.

C'est apres avoir agi ainsi, et pris connaissance frauduleusement d'echanges pourtant
couverts par le secret professionnel, que Monsieur PARIS a decide - en depit de l'interet
superieur de ses enfants - de les meler au conflit parental en menac;ant Madame
BROWN d'enlever les enfants.

Pourtant, la securite emotionnelle des enfants devrait primer, et Eva et Juliette devraient etre
preservees des choix personnels de leur parents et evoluer dans un environnement defini.

Nonobstant l'interet superieur des enfants, Monsieur PARIS n'hesite pas a multiplier
les procedures dans une logique d'obstruction a l'encontre de la concluante, sans tenir
compte de !'importance de preserver les enfants et leur stabilite.




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   2) Les procedures en cours :

Pour la parfaite information du Juge aux Affaires Familiales, les differentes procedures
concernant Monsieur PARIS et Madame BROWN doivent etre rappelees:

   2.1.      Sur le plan penal:

Monsieur PARIS est penalement poursuivi aux Etats-Unis a la suite de !'intrusion illegale
dans l'ordinateur de Madame BROWN, et ce pour plusieurs chefs :

          un chef de crime informatique ;
          et deux chefs d'interception de communications.

Une audience se tiendra le 10 avril prochain.


   2.2.      Sur le fondement de la Convention de la Haye de 1980 - rejet de la demande
             de Monsieur PARIS de retour des enfants en France :

Monsieur PARIS a tente de contester a posteriori la decision de retour de la famille aux
Etats-Unis, et pour lequel ii a meme activement participe.

II a ainsi saisi la Cour federale de l'Etat de l'Oregon (United States District Court for the
district of Oregon) d'une demande sur le fondement de la Convention de la Haye du 25
octobre 1980 sur les aspects civils de l'enlevement international d'enfants.

A ce titre, Monsieur PARIS a sollicite que soit ordonne le retour immediat de ses enfants,
pretendant que Juliette et Eva aurait ete deplacees illicitement aux Etats-Unis.

Fort logiquement, par jugement du 7 decembre 2022, la Cour federale de l'Etat de
!'Oregon, lors d'un proces qui a dure 3 jours, a rejete la demande de retour des
enfants.

                                                       Piece n ° 40 : Decision du 7 decembre 2022

Aux termes de sa decision, le juge federal MC SHANE a juge que les enfants devaient rester
a Ashland, Oregon, pour l'annee scolaire 2022-2023 ce qui fait que leur residence habituelle
est incontestablement fixee aux Etats-Unis.

II est interessant de noter qu'il a en outre retenu que :

    -     les informations donnees par Monsieur PARIS paraissaient « peu credibles » (page
          36),
          que le projet d'installation en France paraissait temporaire et que la pandemie a
          certainement joue un role (page 45),
    -     que Monsieur PARIS qui etait decide a rentrer aux Etats-Unis a « change
          radicalement de position », que ses explications ace sujet « sonnent un peu creux »
          et qu'en tout cas ii a mis Madame BROWN dans une « position remarquablement
          difficile» (page 47, 48,49),
    -     qu'il est tres difficile de comprendre ce que veut Monsieur PARIS et que les
          explications sur sa condition medicale ne paraissent pas credibles faute de preuve
          (page 51).




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Enfin, ii rappelle que Monsieur PARIS a cree une « situation intenable » au mois de juillet
2022 (page 52) en empechant au dernier moment la famille de partir.

Monsieur PARIS a interjete appel de cette decision puis s'est desiste.


    2.3.      En matiere de responsabilite parentale, au fond :


   •       3 octobre 2022 : saisine par Monsieur PARIS des juridictions franc;aises :

Le 3 octobre 2022, Monsieur PARIS a saisi le juge frarn;ais, au moyen d'une presentation
tronquee et mensongere de la realite de la situation de sa famille, omettant d'indiquer qu'il y
avait toujours eu un projet serieux et effectif du retour de la famille aux Etats-Unis pour
l'annee scolaire 2022/2023.

II a egalement indique qu'il residait en France ce qui est faux et que la famille residait a son
propre domicile rue Ferdinand Duval ce qui est encore completement faux. La famille n'y a
jamais habite.

Monsieur PARIS reside en effet depuis l'ete 2022 aux Etats-Unis.

       Piece n°30 : Lettre officielle du conseil de M. PARIS du 29 aout 2022 et Piece n°44:
       differentes adresses communiquees a Madame BROWN OU il te<;oit les filles une semaine
       sur deux

Par ces manreuvres, ii a obtenu suivant ordonnance du 7 octobre 2022, une autorisation
d'assigner Madame BROWN a bref delai a !'audience du 20 janvier 2023, renvoyee au 31
mars 2023, objet des presentes.

La signification a Madame BROWN est intervenue le 1O octobre 2022.

Aux termes de ces demandes, ii sollicite que la residence habituelle des enfants soit fixee en
France a son domicile.


   •       7 octobre 2022 : saisine par Madame BROWN des juridictions americaines (Comte
           de Jackson, Oregon) :
                                                  Piece n°42: requete de Madame BROWN

Parallelement, et bien que Madame BROWN n'est pas ete informee de la saisine des
juridictions franc;aises par le pere, elle a elle-meme saisi les juridictions americaines aux fins
d'interdire a celui-ci de changer unilateralement le lieu de residence habituelle des enfants.

Precisons que la saisine de Madame BROWN n'a done aucun lien avec la saisine franc;aise
de Monsieur PARIS dont elle n'a ete informee que posterieurement.

La saisine de Madame BROWN n'avait pour objet que de perenniser l'accord des parties
pour transferer la famille aux Etats-Unis en maintenant la residence habituelle des enfants
en OREGON pour l'annee 2022/2023, face aux menaces d'enlevement du pere.

Le 11 octobre 2022, une ordonnance temporaire a ete rendue, fixant un statu quo
avantjugement, et interdisant aux parties de changer le lieu de residence habituel des
enfants fixe, aux termes de la decision, sis 665 Leonard St., Ashland, Oregon.


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                Piece n°43 : Ordonnance conservatoire de residence temporaire 11 octobre 2022

Precisons que Monsieur PARIS tente de faire echec a cette procedure en invoquant qu'il
avait saisi en premier les juridictions franc;aises. II a introduit appelle une « motion to
dismiss » que l'on peut traduire comme une requete en irrecevabilite.

Le Tribunal a renvoye l'affaire au 19 avril prochain pour l'examen de cette requete.

Le calendrier de la procedure de la juridiction du Comte de Jackson au fond n'est pas encore
connu.


                                              ***


C'est dans ce contexte que l'affaire se presente devant les juridictions fran~aises, qui
sont done saisies d'une demande de fixation des modalites de l'autorite parentale
alors que, ainsi que cela sera developpe :


    -    Elles sont incompetentes en l'etat de la residence habituelle des enfants aux
         Etats-Unis depuis le mois de juillet 2022 soit ii y a plus de 8 mois ;


    -    Les juridictions americaines ont deja fixe des mesures relatives a l'exercice de
         l'autorite parentale, qui sont executoires ;

    -    Le juge americain a manifestement ete saisi en premier ;


   11-      Sur !'exception d'incompetence

Conformement aux articles 74 et suivants du code de procedure civile, les exceptions
doivent etre presentees avant toute defense au fond.

   1) Sur l'incompetence du juge aux affaires familiales de PARIS

Monsieur PARIS a saisi le juge aux Affaires familiales de Paris le 3 octobre 2022.

On rappellera les elements d'extraneite :

   •     La mere est americaine
   •     Le pere est franc;ais et americain
   •     Les enfants sont franc;ais et americains
   •     La residence habituelle des enfants se situe de maniere indiscutable aux Etats-Unis a
         la date de la saisine

   a) Sur la residence habituelle des enfants au 3 octobre 2022

Au 3 octobre 2022, ainsi qu'il a ete rappele ci-dessus, la residence habituelle des enfants est
incontestablement aux Etats-Unis et ce depuis le 29 juillet. Les enfants y sont notamment
scolarises.




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La decision sur le retour des enfants dans le cadre de la Convention de la Haye du 25
octobre 1980 a notamment etabli que la residence habituelle des enfants se trouvait aux
Etats-Unis depuis cette date.

   b) Surles textes applicables pour apprecier la competence du juge frangais

En presence d'elements d'extraneite et pour apprecier si une juridiction est competente, ii
convient tout d'abord de se referer au Reglement Bruxelles II TER entre en vigueur le 1 er
ao0t 2022 ce qu'a manque de faire Monsieur PARIS.

Ce reglement a cependant vocation a s'appliquer entre Etats membres de !'Union
Europeenne.

Or la residence habituelle des enfants est fixee aux Etats-Unis depuis le 29 juillet 2022 date
a laquelle les enfants sont arrivees sur le territoire americain.

De ce fait, le Reglement Bruxelles II TER n'est pas applicable et ii convient de se referer a la
Convention de la Haye du 19 octobre 1996 relative a la competence et a la loi applicable en
matiere d'autorite parentale.

La Convention de la Haye de 1996 s'applique a la France qui l'a ratifiee en 2010.

Article 5.1.« Les autorites, tant judiciaires qu'administratives, de l'Etat contractant de la
residence habituel/e de l'enfant sont competentes pour prendre des mesures tendant a la
protection de sa personne ou de ses biens ».

Article 5.2 « Sous reserves de /'article 7, en cas de changement de la residence habituelle
de l'enfant dans un autre Etat contractant, sont competentes /es autorites de l'Etat de la
nouvelle residence habituel/e ».

L'article 7 evoque le deplacement ou le non retour illicite de l'enfant. Or suivant decision du 7
decembre 2022, le juge americain a considere qu'il n'y avait pas de deplacement illicite
et a refuse le retour des enfants en France. Rappelons egalement que Monsieur PARIS
s'est desiste de son appel.

En l'espece, la residence habituelle des enfants est done fixee aux Etats-Unis au moment de
la saisine de la juridiction franc;aise.

En vertu de !'article 5 de cette convention, le juge franc;ais ne peut pas se declarer
competent.

   ►   En consequence, le juge aux affaires familiales de PARIS ne pourra que se
       declarer incompetent.


   2) Sur la competence des juridictions americaines

Conformement a !'article 5 de la Convention de la Haye du 19 octobre 1996, ci-dessus
reproduit, seules les juridictions americaines sont competentes en raison d'une residence
habituelle licite des enfants sur le territoire americain a la date de la saisine.

Le juge aux affaires familiales de PARIS devra done se dessaisir au profit du juge americain
deja saisi de cette affaire, a savoir le Tribunal de Circuit de !'Oregon.


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                                                   * *
                                                    *

A defaut, si le juge aux affaires familiales de PARIS se declarait par extraordinaire
competent, ii existerait alors une situation de litispendance qu'il convient d'examiner.


   Ill-    Sur l'exception de litispendance

Conformement a !'article 100 du code de procedure civile, !'exception de litispendance est
presentee in limine litis avant toute defense au fond :

Si le meme litige est pendant devant deux juridictions de meme degre egalement
competentes pour en connartre, la juridiction saisie en second lieu doit se dessaisir au profit
de /'autre si l'une des parties le demande. A defaut, el/e peut le faire d'office.

Pour apprecier la situation de litispendance on rappellera les dispositions applicables du
Reglement Bruxelles II Ter:

Articles 16 b) du Reglement Bruxelles 11 Bis et 17 b) du Reglement Bruxelles 11 Ter :

Une juridiction est reputee saisie :

   a) A la date a laquelle l'acte introductif d'instance ou un acte equivalent est depose
      aupres de la juridiction, a condition que le demandeur n'ait pas neglige par la suite de
      prendre /es mesures qu'il etait tenu de prendre pour que /'acte soit notifie ou signifie
      au defendeur;

   b) Si l'acte doit etre notifie ou signifie avant d'etre depose aupres de la
      juridiction(nota : ce q11i est le cas d',me assignation abrefdelai), a la date a /ague/le ii est re~u
      par l'autorite chargee de la notification ou de la signification. a condition que le
       demandeur n'ait pas neglige par la suite de prendre /es mesures qu'il etait tenu
       de prendre pour que /'acte soit depose aupres de la juridiction ;

Monsieur PARIS a saisi le juge aux Affaires familiales de Paris le 3 octobre 2022 afin de voir
fixer la residence habituelle des enfants a son domicile.

Le 7 octobre 2022, ii a obtenu du juge aux affaires familiales de PARIS une autorisation
d'assigner.

II a ensuite remis a un huissier fran9ais !'assignation en vue de sa delivrance a Madame
BROWN aux Etats-Unis.

La signification a Madame BROWN est intervenue le 10 octobre 2022.

Le 7 octobre 2022 Madame BROWN a saisi le Tribunal de Circuit de l'Etat de !'OREGON
(Jackson County Circuit Court) d'une demande de dissolution de leur partenariat civil
(dissolution of Domestic Partnership), de fixation des droits parentaux et de la fixation de la
contribution aux frais des enfants.

En l'espece, ii apparait done que le juge aux affaires familiales de PARIS a ete saisi en
second puisque Monsieur PARIS a remis a l'huissier son assignation avec
l'autorisation d'assigner posterieurement au 7 octobre 2022.



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Or Madame BROWN a saisi le juge du Jackson Count Circuit Court de l'Etat de l'OREGON
le 7 octobre 2022 soit anterieurement a la saisine de la juridiction frarn;aise.

C'est done bien le juge americain qui a ete saisi en premier.

Qui plus est, le Jackson Count Circuit Court est bien competent en vertu du l'UCCJEA
(Uniform Child Custody Juridiction and Enforcement Act), en raison du lien significatif entre
la mere et l'Etat de !'OREGON et de !'existence de preuves substantielles dans cet Etat
concernant les soins, la protection, la formation et les relations personnelles des enfants.
(Piece n°42)

II a d'ores et deja rendu le 11 octobre 2022 une decision fixant le cadre de vie des enfants a
titre provisoire.

« Le lieu de residence habituel de leurs enfants est chez la demanderesse au 665 Leonard
St., a Ashland, OREGON.
Leurs enfants sont actuellement inscrits et frequentent l'ecole primaire de Bel/view, a
Ashland, OREGON.
Les deux parties exercent leur droit de visite sur leurs enfants sur une base a peu pres
egale >>

                                                                                    Piece n°43

Cette decision a ete signifiee a Monsieur PARIS qui l'applique et voit ses enfants
conformement au cadre fixe par cette decision a savoir la mise en place d'une residence
alternee.

    ►     En consequence, le juge aux affaires familiales de PARIS devra se dessaisir au
          profit des juridictions de l'Etat de !'OREGON.


    IV-        Article 700 CPC

Enfin, bien qu'exceptionnel en matiere familiale, Madame BROWN sollicite une somme de
3.000 € au titre de !'article 700 CPC compte tenu des manceuvres utilisees par Monsieur
PARIS pour obtenir une date en urgence non justifiee et aux moyens d'arguments
mensongers ayant oblige la concluante a engager des frais de procedure importants.




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                                 FOR THESE REASONS

IN LIM/NE LIT/S


It is requested that the Judge of the Family Court of PARIS:

   -   DECLARE ITSELF INCOMPETENT to hear the present dispute in favor of the
       competent Court of the State of OREGON, namely the Circuit Court of the State of
       OREGON;

   -   Alternatively, if the Judge of the Family Court of PARIS declares competence and
       considers that there is a situation of lis pendens, DECLARE THE OBJECTION OF
       LIS PEN DENS ADMISSIBLE AND WELL-FOUNDED, and REFER THE CASE to the
       Circuit Court of the State of OREGON due to the prior filing in that jurisdiction;

   -   In an extremely alternative manner, if the Family Court of PARIS declares itself
       competent and considers that it has been seized first, REMAND the case so that the
       parties can come to an agreement on the merits of the case.

   ON THE MERITS

   -   ORDER Mr. PARIS to pay a sum of €3,000 under Article 700 of the Code of
       Civil Procedure.
   - ORDER the referral of the case for substantive examination
   - Alternatively:
       SET the children's habitual residence at the mother's residence in the United
       States; failing this, ORDER the maintenance of the alternating weekly
       residence as practiced by the parties since October 2022 in the United States;
       ORDER the sharing of expenses concerning the children.




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Liste des pieces communiquees :

   1) Mail du 12 juin 2019 cu la famille an nonce son depart pour une an nee cu
       deux en France + traduction libre
   2) Mail du 11 mars 2019 cu la famille annonce que les enfants feront une annee
       scolaire en France + traduction libre
   3) Mail du 14 juillet 2021 dans lequel Monsieur PARIS relance le projet de
       maison aux US alors qu'ils sent encore en France + traduction
                                                              a
   4) Mail du 5 aoQt 2021 sur projet construction de maison Ashland
                           a
   5) A) resiliation du bail Paris en juin 2022 B) mail annonc;ant la resiliation du
       bail au gerant « nous retournons nous installer aux US » C) demande
       d'autorisation de revendre les meubles
   6) Mail du 28 juin 2022 au gerant sur le projet de retour aux US « ii etait temps »
                                       a
   7) Recherches, options de maison Ashland
   8) Confirmation d'inscription des filles en camp d'ete aux US du 18 juillet au 26
       aoQt 2022 avant la rentree scolaire 2022
                                                        a
   9) Mail du 6 mai 2022 de Monsieur PARIS adresse des jeunes filles au pair+
       echanges whatsapp au sujet des recherches
   10) Contrat de recherche de jeune fille au pair avec l'agence Eur Au pair signe le
       19 mai 2022
   11)Mail du 15 juin 2022 cu le pere relance l'agence de JF au pair
   12)Contrat de paiement jeune fille au pair signe par Monsieur PARIS le 1 er
       septembre 2022
   13)Certificat de radiation Eva PARIS en date du 5 juillet 2022
                                  a
   14)Mail de Monsieur PARIS l'ecole pour obtenir un certificat de scolarite
   15)Envoi d'un avis de passage en CE2 a Monsieur PARIS le 1°r juillet 2022
   16) Federal tax Return 2021
   17)Accuse reception tax return Arnaud PARIS
   18)Attestation de temoin Monsieur Benamou + CNI
   19)Communication Arnaud PARIS avec agent immobilier aoQt 2021 sur
       recherche maison a acheter US
   20)Acte acquisition terrain aux US par Madame BROWN en decembre 2020
   21 )Achat billets d'avion aller simple pour les US en avril 2022
                       a
   22) Envoi des billets Monsieur PARIS le 23 avril 2022

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   23)Echange iMessage ou ii est prevu que le pere de monsieur PARIS sera a
       l'aeroport le jour du depart le 13 juillet pour aider avec les valises
   24)Perception assurance ch6mage par Madame BROWN - declaration
       individuelle de revenus 2020
   25)Courrier officiel (accords) du 19 juillet 2022 de Me ASSUIED HODARA
   26)Courrier officiel (accords) du 19 juillet 2022 de Me GADOT
   27)Mail officiel du 18 ao0t 2022 de Me ASSUIED HODARA
   28) Mail officiel du 23 ao0t 2022 de Me GADOT
   29)Courrier officiel du 26 ao0t 2022 de Me ASSUIED HODARA
   30) Mail officiel du 29 ao0t 2022 Me GAD OT
   31)Bail signe le 30 juillet 2022 maison a Ashland
   32)Mail du 5 ao0t 2022 sur l'emploi d'une baby sitter 2h par jour
   33)Mail du 14 ao0t_2022 sur l'emploi d'un professeur de franc;ais
   34)Contrat de co-working Heidi Brown a effet au 15 ao0t 2022
   35)A)Souscription d'une couverture sante MODA aux US pour Monsieur PARIS
       29 juillet 2022 B) attestation de souscription
   36)Confirmation par !'assurance sante de !'absence d'exclusion en cas de
       Maladie de Biermer ou de cancer en date du 5 ao0t 2022
   37)Confirmation de rendez-vous medical avec medecin de !'assurance sante pour
       Monsieur PARIS le 25 ao0t 2022
   38)Confirmation de rendez-vous avec un gastroenterologue pour le 10 octobre
       2022 pour Monsieur PARIS a Ashland
   39) Nouvelle couverture sante de Monsieur PARIS aux US en date du 22 ao0t
       2022
   40)Traduction assermentee decision de non retour du 7 decembre 2022
   41 )A) Projet contrat de bail appartement rue Malher en septembre 2019
       B)Echange de mail du 13 septembre 2019 sur prise de bail C) Echange de
       mail sur achats de meubles nouvel appartement
   42)Traduction assermentee requete de Madame BROWN 7 octobre 2022
   43)Traduction assermentee ordonnance conservatoire de residence temporaire
       11 octobre 2022
   44)Communication des differentes adresses de Monsieur PARIS aux US
   45) Lettre de demission du travail de Monsieur PARIS le 28 ao0t 2022
   46) Echange whatsapp du 29 ao0t 2022 sur l'arrivee de Monsieur PARIS en
       camion

Sur la situation des filles aux Etats-Unis

   47) Photos des filles heureuses aux Etats-Unis
   48) Releve de note premier semestre 2022/2023 Eva + traduction libre
   49) Releve de note premier semestre 2022/2023




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 3
 4                   IN THE CIRCUIT COURT OF THE STATE OF OREGON

 5                               FOR THE COUNTY OF JACKSON

 6   In the Matter of:

 7   HEIDI MARIE BROWN,                                Case No. 22DR 17285

 8                        Petitioner,                  DECLARATION

 9            and

10   ARNAUD PARIS,

11                        Respondent.
12

13            1.    My name is Terence Richoux. I am a licensed and practicing attorney at

14   law in Paris, France. I represent Mr. Arnaud Paris in a pending matter before the

15   French court. That case is against Mr. Heidi Brown. The claims to be adjudicated by

16   the French court concern the care, custody and control of the minor children of the

17   parties, rights of visitation as well as support as appropriate between the parties for their

18   minor children. I have also asked the French court to determine liability between the

19   parties for any mutual debts they may have in France. I am familiar with the proceeding

20   pending between the parties in Oregon, and there is no question in my mind that the

21   causes are parallel proceedings seeking the same relief. The court in France will

22   determine for the care, control and custody of the children based on the children's best
23   interests. Furthermore, a schedule will be determined for each parent to spend time

24   with the children based on the children's best interests.
25   /II

26   Ill
     Page 1 - DECLARATION

                                                                                SCHULTE, ANDERSON, DOWNES, ARONSON & BITINER P.C.
                                                                                     811 SOUTHWEST NAITO PARKWAY, SUITE500
                                                                                           PORTLAND, OREGON 97204-3379

                                        EXHIBIT 46 - PAGE 18 OF 19                           TELEPHONE (503) 223-4131
                                                                                                FAX (503) 223-1346
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 1   ///

 2          2.     Attached to my declaration as Exhibit 1 is a true copy of the summary of
 3   arguments set to be presented to the French judge regarding the matter. I direct your
 4   attention in particular to page 12 where I have translated into English the claims to be
 5   determined !:?Y the French court.

 6          3.     I hereby declare that the above statement is true to the best of my
 7   knowledge and belief, and that I understand it is made for use as evidence in court and
 8   is subject to penalty for peoury.

 9
1O          Dated: March 24, 2023
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     Page 2 - DECLARATION

                                                                            srm.11,TF., Al<DERSON, D(}\\'1,1'5, ARoNSON & BITINH< P.C.
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